Case: 1:15-cv-00792-SJD-KLL Doc #: 354 Filed: 05/23/18 Page: 1 of 6 PAGEID #: 13041



                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                              CINCINNATI DIVISION

                                                        :
   FRANK A. AND SHELLY PALOMBARO,                       :
   JR., et al.,                                         :   CASE NO. 1:15-cv-792-SJD
                                                        :
                  Plaintiffs,                           :   Judge Susan J. Dlott
                                                        :   Magistrate Judge Karen L. Litkovitz
   v.                                                   :
                                                        :
   EMERY FEDERAL CREDIT UNION,                          :
                                                        :
                  Defendant.                            :
                                                        :



              EMERY FEDERAL CREDIT UNION’S RESPONSE TO
           CLASS COUNSEL’S PETITION FOR ATTORNEYS’ FEES AND
        EXPENSES AND FOR CLASS REPRESENTATIVE SERVICE AWARDS

          Defendant Emery Federal Credit Union (“Emery”) respectfully submits this

   response to Docket Number 350, which was styled as Class Counsel’s and Class

   Representatives’ Unopposed Petition for Attorneys’ Fees and Expenses and for Class

   Representatives’ Service Awards for Emery Federal Credit Union Settlement (the

   “Petition”).

                                         Introduction

          Although the Petition is styled as “unopposed,” Class Counsel did not confer with

   Emery prior to filing the Petition. Pursuant to the Class Action Settlement Agreement

   (Dkt. No. 341-2), to which the Court gave preliminary approval on January 25, 2018

   (Dkt. No. 344), Emery agreed “not to object to Class Counsels’ Motion for Fees and

   Expenses so long as the Motion for Fees and Expenses is consistent with” Section 13 of

   the Settlement Agreement, which limits attorneys’ fees to “not more than thirty percent
Case: 1:15-cv-00792-SJD-KLL Doc #: 354 Filed: 05/23/18 Page: 2 of 6 PAGEID #: 13042



   (30%) of the Settlement Fund, plus costs and expenses actually incurred,” and provides

   that all attorneys’ fees, costs and expenses “shall come from the Common Fund . . .”

   (Dkt. No. 341-2 at 22, PAGEID 12076.)

           Accordingly, since Class Counsel are seeking the full 30% of the Common Fund

   as attorneys’ fees, as well as expenses that they represent were actually incurred and class

   representative service awards, all to be paid out of the Common Fund, Emery does not

   object to the relief requested in the Petition.

           Emery does object, however, to certain gratuitous and incorrect assertions in the

   Petition, as well as to Plaintiffs’ decision to reveal part of the confidential settlement

   negotiations in a footnote to the Petition, as set forth in more detail below.

           Counsel for Emery attempted to work with Class Counsel to resolve these issues

   and suggested the filing of a corrected Petition, but Class Counsel declined to do so.

   Accordingly, to make clear that those assertions are unsupported and incorrect, Emery

   respectfully submits this Response.

                             Class Counsel’s Gratuitous Assertions

           Class Counsel makes a number of unsupported factual assertions, both about the

   underlying merits of the Action, as well as about the procedural history of the litigation.

   The assertions are not supported by any evidence or citation—not even a declaration

   from counsel—and Emery will not address every misstatement here because Emery does

   not believe that most of the allegations are in any way relevant to the Petition.

           There are two assertions, however, which Emery feels obligated to correct. In

   particular, Class Counsel falsely allege that “Emery leveraged the closure of its mortgage

   division in 2014 to stonewall discovery and claim, until intervention by the Court, that it



                                                     2
Case: 1:15-cv-00792-SJD-KLL Doc #: 354 Filed: 05/23/18 Page: 3 of 6 PAGEID #: 13043



   no longer had records related to the time period.” (Petition at 2, PAGEID12150).

   Unsurprisingly, Class Counsel provide no citation whatsoever in support of that

   inflammatory allegation.1

            Contrary to Class Counsel’s allegation, Emery never claimed that “it no longer

   had records related to the time period” in question. Moreover, Magistrate Judge

   Litkovitz’s assistance in resolving discovery disputes (which were raised by both sides)

   never had any impact on what documents Emery had in its possession, custody or control.

   Emery worked hard not only to comply with its discovery obligations, but to reach

   reasonable compromises with Plaintiffs in order to keep the litigation moving. Class

   Counsel’s assertion to the contrary is incorrect.

            Class Counsel is also incorrect to assert that Emery was “gambl[ing]” when it

   filed its successful motion to transfer the Action to Cincinnati, where Emery is based

   (and the contractually-required venue), or when Emery opposed Plaintiffs’ motion for

   class certification. Dkt. No. 350 at 10, PAGEID12150.

            A number of Class Counsel’s other assertions (also unsupported by citations to

   any evidence), about the specifics of the alleged kickback scheme, are also mistaken.



   1
     It is true that there were some discovery disputes, but they were not the result of any “stonewall[ing]” on
   the part of Emery. In fact, it was Emery that was ultimately forced to file a motion to compel (Dkt. No.
   273), which was granted in part (Dkt. No. 285). The discovery disputes brought by Plaintiffs arose
   primarily from Plaintiffs having waited for four months to begin taking discovery, which they did
   approximately two months before the pre-certification discovery period was set to end, and their failure to
   object to the search terms that Emery provided in its discovery objections and responses. After the end of
   that discovery period, Plaintiffs sought to drastically expand the list of email custodians whose emails were
   searched, as well as the search terms that were used. The discovery period was extended (over Emery’s
   objection), and Emery worked with Plaintiffs, with the assistance of Magistrate Judge Litkovitz, to agree to
   additional searches and custodians (to which Emery would likely have agreed initially if Plaintiffs had
   suggested them before the end of the discovery period). Other disputes related to extremely burdensome
   loan-level document requests and concerns over the privacy of non-party consumers, and were ultimately
   resolved by the Parties’ agreement that loan-level documents would be produced for 5% of the loans in
   question, and the execution of a Stipulation Concerning Protection of Non-Party Borrower Information
   (Dkt. No. 256).

                                                        3
Case: 1:15-cv-00792-SJD-KLL Doc #: 354 Filed: 05/23/18 Page: 4 of 6 PAGEID #: 13044



   Since those assertions are irrelevant to the Petition, however, in the interests of judicial

   economy Emery does not address them here.

                           Settlement Discussions Are Confidential

          In footnote 2 (Petition at 13, PAGEID12153), Class Counsel revealed details of

   the Parties’ confidential settlement discussions. Emery objects to Plaintiffs’ reference to

   confidential settlement communications, and requests that the Court not draw any

   conclusions about any aspect of the settlement discussions, including those occurring

   before and/or after the mediation, based upon the incomplete information that was

   improperly submitted. See Goodyear Tire & Rubber v. Chiles Power Supply, 332 F.3d

   976, 980-81 (6th Cir. 2003) (recognizing a privilege for settlement communications); see

   also Local Civil Rule 16.3(c).

                                            Conclusion

          As set forth above, Emery does not object to the relief requested in the Petition.

   That non-objection should not, however, be taken as agreement with the inaccurate and

   unsupported allegations made concerning Emery in the Petition, nor should it be taken as

   consent to Class Counsel’s violation of the settlement discussion privilege recognized in

   Goodyear Tire. The Court should not rely on Class Counsel’s inaccurate assertions

   regarding Emery, or on privileged settlement communications, in ruling on the Petition.




                                                 4
Case: 1:15-cv-00792-SJD-KLL Doc #: 354 Filed: 05/23/18 Page: 5 of 6 PAGEID #: 13045



   Dated: May 23, 2018             Respectfully submitted,


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                                         5
Case: 1:15-cv-00792-SJD-KLL Doc #: 354 Filed: 05/23/18 Page: 6 of 6 PAGEID #: 13046



                                 CERTIFICATE OF SERVICE

              I hereby certify that, on this 23rd day of May, 2018, a copy of the foregoing

   Response was electronically filed with the Clerk of the Court using the CM/ECF system,

   causing service to be effected on all counsel of record.



                                                         /s/ Carolyn A. Taggart
                                                         Carolyn A. Taggart




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